           Case 2:09-cr-00224-WBS Document 80 Filed 05/12/11 Page 1 of 3


 1   MICHAEL L. CHASTAINE, State Bar #121209
     The Chastaine Law Office
 2   101 Parkshore Drive, Suite 100
     Folsom, CA 95630
 3   (916) 932-7150
     (916) 932-7151 fax
 4
     Attorney for Jorge Alvarez Alvarez
 5

 6                      IN THE UNITED STATES DISTRICT COURT FOR THE

7                                EASTERN DISTRICT OF CALIFORNIA
8
9
8
     UNITED STATES OF AMERICA,                              ) No. CR.S. 09-00224-WBS
 9
                                                            )
                    Plaintiff,                              ) STIPULATION AND ORDER CONTINUING
10
                                                            ) CHANGE OF JUDGMENT AND SENTENCING
            v.                                              ) HEARING DATE
11
                                                            )
     JORGE ALVAREZ ALVAREZ, et al.,                         ) DATE:
12
                                                            ) Time: 8:30 a.m.
                    Defendants.                             ) Court:Hon. William B. Shubb
13
                                                            )
                                                            )
14

15
            It is hereby stipulated and agreed by and between plaintiff,
16
     United States of America, and defendant, Jorge Alvarez Alvarez,
17   through his attorney, Michael Chastaine, that the judgment and
18   sentencing hearing scheduled for May 16, 2011, at 8:30 a.m.,
     shall be continued to July 18, 2011 at 8:30 a.m..
19

20
            The parties note that Jorge Alvarez Alvarez is “safety
     valve eligible” under 18 U.S.C. § 3553(f).                              At the time of the
21
     change of plea, neither party was certain that Mr. Alvarez was
22   eligible under section 3553(f). Counsel for Mr. Alvarez needs
23   additional time to fulfill the safety valve requirements. Based
     on these facts, the requested continuance is necessary to allow
24
     defense counsel time to fulfill these requirements.
25




     _________________________________________________________________________________________________________
                                                        1
           Case 2:09-cr-00224-WBS Document 80 Filed 05/12/11 Page 2 of 3


 1   Dated:      May 11, 2011                               BENJAMIN B. WAGNER
                                                            UNITED STATES ATTORNEY
 2
                                                            /s/ Todd Leras
 3                                                          _____________________
                                                            TODD LERAS
 4                                                          Assistant U.S. Attorney
                                                            (per telephone authorization)
 5

 6

 7
     Dated:      May 11, 2011                             /s/ Michael Chastaine
                                                      By: _____________________
 8                                                        MICHAEL CHASTAINE
                                                          Attorney for Defendant
 9                                                        Jorge Alvarez Alvarez

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




     _________________________________________________________________________________________________________
                                                        2
           Case 2:09-cr-00224-WBS Document 80 Filed 05/12/11 Page 3 of 3


 1
                                                     ORDER
 2
            GOOD CAUSE APPEARING, in that it is the stipulation of the
 3
     parties:
 4
            IT IS HEREBY ORDERED that the judgment and sentencing
 5
     hearing scheduled for Monday, May 16, 2011 at 8:30 a.m. be
 6
     continued to Monday, July 18, 2011 at 8:30 a.m..
 7

 8
                                                Dated: May 11, 2011
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




     _________________________________________________________________________________________________________
                                                        3
